SO ORDERED.

SIGNED this 6th day of May, 2021.




____________________________________________________________________________



                       IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF KANSAS

IN RE:
                                               )    Case No. 19-10065
PARIS EDWARD THOMAS LOYLE and                  )    Chapter 7
KATHERINE CHRISTINE LOYLE,                     )
                                               )
Debtors.                                       )
                                               )
                                               )
PARIS EDWARD THOMAS LOYLE                      )
and KATHERINE CHRISTINE LOYLE,                 )
                                               )    Case No. 20-05073
Plaintiffs                                     )
                                               )
vs.                                            )
                                               )
UNITED STATES DEPARTMENT OF                    )
EDUCATION, et al.,                             )
                                               )

      STIPULATED ORDER SETTING ASIDE DEFAULT AND DEFAULT JUDGMENT
            AND DISMISSING FIRSTMARK SERVICES AS A DEFENDANT

         This matter comes before the Court by way of Plaintiffs Paris Edward Thomas Loyle and

Katherine Christine Loyle and Defendant Firstmark Services’ Joint Motion to enter the Stipulated

Order setting aside the default and default judgment against Firstmark Services and dismissing


                                               1
HB: 4840-0299-6710.2



                 Case 20-05073    Doc# 123     Filed 05/09/21     Page 1 of 5
                                                 United States Bankruptcy Court, District of Kansas
                                Paris and Katherine Loyle v. United States Dept. of Education, et al.
                                                          Case No. 20-05073, Chapter 7 Adversary
                       Stipulated Order Setting Aside Default and Default Judgment and Dismissing
                                                                 Firstmark Services as a Defendant
                                                                                             Page 2



Firstmark Services from this case (the “Motion”). The Court, having reviewed the Motion; having

been advised that the parties have agreed to the relief set forth herein and form of this Order;

finding that notice of the Motion was properly given, and good and sufficient cause appearing

therefore, the Court finds that Firstmark Services is solely the servicer of the loan owned by RBS

Citizens, N.A., and no debt was owed to Firstmark Services. Therefore:

         IT IS ORDERED, that the Default entered against Firstmark Services on June 17, 2020

[Doc.# 64] is hereby set aside; and it is further

         ORDERED, that the Default Judgment entered against Firstmark Services on June 18, 2020

[Doc.# 67] is hereby set aside; and it is further

         ORDERED, that the Firstmark Services is bound by the discharge injunction with respect

to the default judgment of non-dischargeability entered against RBS Citizens, N.A. d/b/a Charter

One; and it is further

         ORDERED, that Firstmark is dismissed as a party defendant in this proceeding.

                                            IT IS SO ORDERED.

                                                    ###




                                                     2
HB: 4840-0299-6710.2



                 Case 20-05073       Doc# 123       Filed 05/09/21    Page 2 of 5
                                                 United States Bankruptcy Court, District of Kansas
                                Paris and Katherine Loyle v. United States Dept. of Education, et al.
                                                          Case No. 20-05073, Chapter 7 Adversary
                       Stipulated Order Setting Aside Default and Default Judgment and Dismissing
                                                                 Firstmark Services as a Defendant
                                                                                             Page 3


SUBMITTED BY:

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                                                   3
HB: 4840-0299-6710.2



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                                                              United States Bankruptcy Court
                                                                    District of Kansas
Loyle,
      Plaintiff                                                                                                        Adv. Proc. No. 20-05073-MLH
United States Department of Education,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 1083-6                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: May 07, 2021                                               Form ID: pdf020ap                                                          Total Noticed: 4
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 09, 2021:
Recip ID                 Recipient Name and Address
                       + Christopher Miles, Attorney for FirstMark Services, 4801 Main Street Suite 1000, Kansas City MO 64112-2551
pla                    + Katherine Christine Loyle, 15213 E Stratford St, Wichita, KS 67230-6640
pla                    + Paris Edward Thomas Loyle, 15213 E Stratford St, Wichita, KS 67230-6640

TOTAL: 3

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion20.wi.ecf@usdoj.gov
                                                                                        May 07 2021 20:28:00      U.S. Trustee, Office of the United States Trustee,
                                                                                                                  301 North Main Suite 1150, Wichita, KS
                                                                                                                  67202-4811

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 09, 2021                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 7, 2021 at the address(es) listed below:
Name                               Email Address
Brian D Sheern
                                   on behalf of Defendant United States Department of Education brian.sheern@usdoj.gov
                                   michelle.lies@usdoj.gov;phyllis.creed@usdoj.gov;CaseView.ECF@usdoj.gov

Christopher C Miles
                                   on behalf of Defendant FirstMark Services christopher.miles@huschblackwell.com



                                  Case 20-05073                 Doc# 123            Filed 05/09/21              Page 4 of 5
District/off: 1083-6                                       User: admin                                                       Page 2 of 2
Date Rcvd: May 07, 2021                                    Form ID: pdf020ap                                                Total Noticed: 4
David Alan Gellis
                          on behalf of Defendant Navient Solutions LLC dgellis@mslawkc.com ccariani@mslawkc.com

January M Bailey
                          on behalf of Defendant FirstMark Services january@eronlaw.net prelleeronbailey@gmail.com

January M Bailey
                          on behalf of Plaintiff Katherine Christine Loyle january@eronlaw.net prelleeronbailey@gmail.com

January M Bailey
                          on behalf of Plaintiff Paris Edward Thomas Loyle january@eronlaw.net prelleeronbailey@gmail.com


TOTAL: 6




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